                        Case 6:21-cv-00161-ADA Document 11 Filed 07/12/21 Page 1 of 1
AO 120 (Rev. 08/10)
                             Mail Stop 8                                                      REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                  TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                      Western District of Texas                               on the following
       G Trademarks or         G✔Patents. ( G the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
     6:21-cv-00161                       2/22/2021                                          Western District of Texas
PLAINTIFF                                                                  DEFENDANT
 Digital Cache, LLC                                                          Toshiba America Electronic Components, Inc.



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                                 In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   G Amendment                G Answer           G Cross Bill            G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    02/25/2021 document 9 NOTICE of Voluntary Dismissal




                                                                                                                          DATE
                                                                                                                                  7/12/2021

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
